                                                                          FILED IN OPEN COURT
                                                                              U.S.D.C. Atlanta
                                                                                        -




ORIGINAL                                                                      APR132021
                                                                           JAN~S N. HATTEN Clerk
                                                                         By:        ~~v~puty Clerk

                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


    UNITED STATES OF AMERICA
                                               Criminal Indictment

    DANIEL T. MILLER, III                      No.     :2 1   c Ri 4 2

 THE GRAND JURY CHARGES THAT:


                                      Count One

    Beginning on a date unknown to the grand jury, but at least as of on or about
 January 11, 2021, and continuing until on or about March 18, 2021, in the
 Northern District of Georgia, the defendant, DANIEL T. MILLER, III, did
 knowingly and willfully combine, conspire, confederate, agree, and have a tacit

 understanding with others, known and unknown to the grand jury, to violate
 Title 21, United States Code, Section 841(a)(1), that is, to knowingly and
 intentionally possess with intent to distribute a controlled substance, said

 conspiracy involving at least 500 grams of a mixture and substance containing a
 detectable amount of methamphetamine, a Schedule II controlled substance,

 pursuant to Title 21, United States Code, Section 841 (b)(1)(A), all in violation of
 Title 21, United States Code, Section 846.

                                      Count Two

    On or about January 15, 2021, in the Northern District of Georgia, the
 defendant, DANIEL T. MILLER, III, aided and abetted by others, known and
unknown to the grand jury, did knowingly and intentionally possess with intent
to distribute a controlled substance, said act involving at least 500 grams of a

mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, pursuant to Title 21, United States Code,

Section 841(b)(1)(A), all in violation of Title 21, United States Code, Section
841(a)(1), and Title 18, United States Code, Section 2.
                                    Count Three

   On or about January 15, 2021, in the Northern District of Georgia, the
defendant, DANIEL T. MILLER, III, did knowingly possess a firearm, that is, one
Kimber .45 ACP pistol, in furtherance of a drug trafficking crime for which he
may be prosecuted in a court of the United States, that is, possession with intent

to distribute a controlled substance as set forth in Count Two of this Indictment,
in violation of Title 18, United States Code, Section 924(c)(1)(A).
                                    Count Four

   On or about January 15, 2021, in the Northern District of Georgia, the
defendant, DANIEL T. MILLER, III, knowing that he had been previously convicted
of at least one of the following:

   •   Possession with Intent to Distribute Methamphetamine, in the Superior
       Court of Gilmer County, Georgia, in or about November 2004;
   •   Possession of Methamphetamine with Intent to Distribute, in the Superior

       Court of Hall County, Georgia, in or about March 2005;
   •   Theft by Receiving, in the Superior Court of Hall County, Georgia, in or
       about March 2005; and

                                          2
   • Possession of Methamphetamine, in the Superior Court of Gwinnett
      County, Georgia, in or about March 2008;
a crime punishable by imprisonment for a term exceeding one year, did

knowingly possess a firearm, that is, one Kimber .45 ACP pistol, said possession
being in and affecting interstate and foreign commerce, in violation of Title 18,
United States Code, Sections 922(g) (1) and 924(a) (2).

                              Prior Conviction Notice
   Before the defendant, DANIEL T. MILLER, III, committed the offenses
charged in Counts One and Two of this Indictment, DANIEL T. MILLER, III, was
convicted of Possession with Intent to Distribute Methamphetamine, in the

Superior Court of Gilmer County, Georgia, a serious drug felony, for which he
served more than 12 months of imprisonment, and for which he was released
from serving any term of imprisonment related to that offense within 15 years of
the commencement of the instant offense.

   Additionally, before the defendant, DANIEL T. MILLER, III, committed the
offenses charged in Counts One and Two of this Indictment, DANIEL T. MILLER,
III, was convicted of Possession of Methamphetamine with Intent to Distribute,

in the Superior Court of Hall County, Georgia, a serious drug felony, for which

he served more than 12 months of imprisonment, and forwhich he was released
from se±ving any term of imprisonment related to that offense within 15 years of
the commencement of the instant offense.




                                          3
                                     Forfeiture
      Upon conviction of one or more of the offenses alleged in Counts One and
Two of this Indictment, the defendant, DANIEL T. MILLER, III, shall forfeit to the

United States, pursuant to Title 21, United States Code, Sections 853, any
property constituting, or derived from, proceeds obtained, directly or indirectly,
as a result of the said violations and any property used or intended to be used, in

any manner or part, to commit, or to facilitate the commission of the said
violations, including, but not limited to, the following:
      (a) MONEY JUDGMENT: A sum of money in United States currency

         representing the amount of proceeds obtained as a result of the offense
         for which the defendant is convicted.
      (b) One (1) Kimber .45 caliber pistol, serial number AK162352.

      (c) One (1) .45 caliber 8 round magazine.
      (d) $20,047.00 in United States currency seized on January 15, 2021.
      (e) $11,020 in United States currency seized on March 18, 2021.
   Upon conviction of one or more of the offenses alleged in Counts Three and

Four of this Indictment, the defendant, DANIEL T. MILLER, III, shall forfeit to the
United States, pursuant to Title 18, United States Code, Section 924(d) and Title

28, United States Code, Section 2461(c), any firearms and ammunition involved
in and used in the offenses alleged, including but not limited to:
      (a) one (1) Kimber .45 ACP, serial number AK162352.

      (b) One (1) .45 caliber 8 round magazine.



                                          4
   If, as a result of any act or omission of the defendants, any property subject to
forfeiture:

       (a) cannot be located upon the exercise of due diligence;
       (b) has been transferred or sold to, or deposited with, a third party;
       (c) has been placed beyond the jurisdiction of the court;

       (d) has been substantially diminished in value; or
       (e) has been commingled with other property which cannot be divided
          without difficulty;

   \
   \
   \
   \
   \
   \
   \
   \
   \
   \
   \
   \
   \
   \


                                          5
the United States intends, pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of the defendants up to the value of the above
forfeitable property.


                                          A        ~                           BILL


                                                 ‘-‘   FORE ERSO
KURT R. ERSKINE
 Acting United States Attorney


óaL~ 4. L4~.tI
CALVIN LEIP0LO
 Assistant United States Attorney
Georgia Bar No. 442379


                 MS
  Special Assistant United States Attorney
Georgia Bar No. 721677

600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303
404-581-6000; Fax: 404-581-6181
